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15                     UNITED STATES DISTRICT COURT

16        CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION

17   SANDRA SMITH; GERALD                     Case No. 2:17-cv-05149-SVW-AFM
     BENSON; NATASHA HAMIDI,
18                                            DEFENDANTS SABRE
19   Plaintiffs, on behalf of themselves      CORPORATION AND SABRE
     individually and all others similarly    GLBL INC.’S NOTICE OF
20   situated,                                MOTION AND MOTION TO
                                              DISMISS SECOND AMENDED
21   v.                                       COMPLAINT; MEMORANDUM
                                              OF POINTS AND AUTHORITIES
22   SABRE CORPORATION f/k/a                  IN SUPPORT
23   SABRE HOLDINGS
     CORPORATION, a Delaware                  Hearing Date: January 8, 2018
24   Corporation; SABRE GLBL, Inc.,           Time: 1:30 pm
     and DOES 1 to 10 inclusive,
25                                            Place: Courtroom 10A
     Defendants.                              Judge: Honorable Stephen V. Wilson
26                                            Action Filed: July 12, 2017
27
28


     NOTICE OF MOTION AND MOTION TO DISMISS SECOND AMENDED COMPLAINT; MEMORANDUM OF
                POINTS AND AUTHORITIES IN SUPPORT, CASE NO. 2:17-cv-05149-SVW-AFM
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 1                NOTICE OF MOTION AND MOTION TO DISMISS
 2         TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
 3         PLEASE TAKE NOTICE THAT on January 8, 2018, at 1:30 pm, in
 4   Courtroom 10A of this Court, located at 350 West 1st Street, Los Angeles, CA,
 5   90012, Defendants Sabre Corporation and Sabre GLBL Inc. (collectively, “Sabre”)
 6   will and hereby do move this Court to dismiss the Second Amended Complaint
 7   (“SAC”) filed on November 14, 2017, pursuant to Rules 12(b)(1) and 12(b)(6) of
 8   the Federal Rules of Civil Procedure.
 9         Specifically, Sabre seeks an order dismissing the SAC, this time with
10   prejudice, because, despite this Court previously dismissing the First Amended
11   Complaint for lack of standing and failure to state a claim, Plaintiffs fail to cure the
12   numerous deficiencies noted and still fail to demonstrate that they have suffered a
13   legally cognizable injury sufficient for Article III standing or that they can state any
14   viable claim for relief. This motion is made following the conference of counsel
15   pursuant to L.R. 7-3, which took place on November 16, 2017. This motion is
16   based on this Notice of Motion and Motion, the attached Memorandum of Points
17   and Authorities, the Declaration of Tiffany M. Ikeda and the exhibit attached
18   thereto, the pleadings and papers on file herein, and such other matters as may be
19   presented to the Court at the time of the hearing.
20   Dated: November 28, 2017                 ARNOLD & PORTER KAYE SCHOLER LLP
21
22                                            By: /s/ Kenneth L. Chernof
23                                            Kenneth L. Chernof (SBN 156187)
24                                            Attorneys for Defendants Sabre Corporation
                                              and Sabre GLBL Inc.
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2                             PRELIMINARY STATEMENT
 3         On October 23, 2017, this Court dismissed the First Amended Complaint (“FAC”) for
 4   lack of Article III standing and for failure to state a claim pursuant to Rule 12(b)(6). Order
 5   Regarding Motion to Dismiss, ECF 30 (“Order”). Plaintiffs have now filed a Second
 6   Amended Complaint (“SAC”) in an apparent attempt to cure the numerous deficiencies
 7   identified by the Court. But as the attached redline shows, Plaintiffs make only a handful of
 8   non-substantive revisions, many of them downright puzzling, to the previously dismissed
 9   Complaint. See Redline Comparing SAC to FAC, attached to the Declaration of Tiffany M.
10   Ikeda as Exhibit A. Far from resuscitating their claims, those revisions, summarized below,
11   confirm that this case should now be dismissed with prejudice:
12             The SAC adds a new Plaintiff, Natasha Hamidi, but aside from the fact that she
13               resides in Los Angeles, CA (SAC ¶ 7), the SAC contains zero allegations
14               specific to her. Not one. There are no allegations tying Hamidi to the security
15               incident here or to the conduct of Sabre whatsoever, one of several aspects of
16               the SAC raising serious questions about compliance with pre-filing
17               responsibilities.
18             In Paragraphs 38 and 39, previously-named plaintiffs Sandra Smith and Gerald
19               Benson have merely deleted the allegations that previously doomed their
20               claims—namely, that Smith admitted that she canceled her cards following the
21               security incident (such that there could be no future risk to them) and that
22               Benson conceded that he had not experienced any fraudulent charges (such that
23               nothing has happened to him at all). They pretend as if they did not make these
24               previously fundamental allegations. But even if that were in any way proper, it
25               is of no moment here because Plaintiffs do not allege that Smith did not cancel
26               her cards or that anything has happened to Benson since the incident.
27             In Paragraphs 24 to 26, Plaintiffs add allegations referencing some general data
28               security matters. But they do not bear in any way on whether the three

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 1              Plaintiffs have suffered any actionable impact, nor do Plaintiffs even attempt to
 2              tie them to the conduct of Sabre or to the security incident here.
 3            In Paragraphs 32, 36, and 37, Plaintiffs add allegations speculating about
 4              virtually every theoretical harm one could imagine in the wake of a security
 5              incident (including that identify theft can lead to “rifts between husbands and
 6              wives [and even] divorce”!). But Plaintiffs do not allege that any of these
 7              harms happened to Plaintiffs specifically, much less in a way that bears any
 8              connection to Sabre.
 9            Similarly, in Paragraphs 40 to 43, Plaintiffs add allegations speculating the
10              theoretical possibility that a bad actor might access email accounts. But once
11              again, not one of the named Plaintiffs alleges that his or her email account has
12              been accessed, that he or she provided an email address or email account
13              password when booking hotels, or offers any facts that would plausibly suggest
14              that email accounts are now at risk.
15            In Paragraphs 44 to 51, Plaintiffs add general allegations about the premiums
16              some customers might theoretically be willing to pay for security (citing
17              various unrelated reports), but these allegations say nothing of how the
18              individual Plaintiffs view security, particularly in the context of purchasing
19              hotel rooms where other numerous drivers are at play, and further rely on the
20              hypothetical, and highly implausible, theory that the higher priced a hotel room,
21              the greater the security of the hotel’s third-party vendor.
22            In Paragraph 72, Plaintiffs make a strained attempt to demonstrate a “special
23              relationship” with Sabre that would allow Plaintiffs to avoid the economic loss
24              doctrine under their claim of negligence. But the facts alleged specifically and
25              clearly refer to a special relationship in the context of a transaction with a
26              retailer at a brick and mortar store. As Plaintiffs correctly allege elsewhere,
27              Sabre is a digital-only platform. It does not have brick and mortar stores.
28              Again, questions arise regarding satisfying pre-filing obligations before

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 1                availing themselves of this Court.
 2         The remaining paragraphs of the SAC, including those in support of the other nine
 3   claims, are virtually identical to the previously dismissed FAC and do not address the many
 4   deficiencies that the Court has already identified. This is so despite the fact that on several
 5   occasions Plaintiffs represented to the Court that they could or would cure the deficiencies
 6   through amendment. Accordingly, Sabre again moves for dismissal pursuant to Rules
 7   12(b)(1) and 12(b)(6) and respectfully requests that the Court dismiss the SAC with
 8   prejudice.
 9                               FACTUAL BACKGROUND
10         Defendant Sabre Corporation is a global technology company that provides a broad
11   range of services and technology to the travel and tourism industry. One of Sabre’s
12   business segments serves the hospitality industry specifically, and offers to its hospitality
13   clients technology called the “SynXis Central Reservations System” (“SynXis CR”).
14   SAC ¶ 16. SynXis CR is a web-based computer platform that provides connections for
15   hotels to distribution channels, id., (including global distribution systems, which are used
16   by travel agencies, and online travel agencies such as Expedia) and permits hoteliers to
17   manage their room availability, pricing, and inventory.
18         On May 2, 2017, Sabre published notice that it was investigating an incident of
19   unauthorized access to payment card information for a subset of hotel reservations
20   processed through the SynXis CR. SAC Ex. C. Sabre engaged a cybersecurity expert to
21   investigate the incident, and notified law enforcement and its hospitality customers. Id.
22   On July 5, 2017, Sabre published an update confirming that “an unauthorized party
23   accessed certain payment card information for a limited subset of hotel reservations
24   processed through the [SynXis CR] system” from August 2016 to March 2017. Id. ¶ 17 &
25   Ex. A. It further explained that not all reservations accessed included a payment card
26   security code, as a large percentage of bookings were made without a security code being
27   provided. FAC Ex. A. In addition, other reservations were processed without using
28   consumer credit cards. Id. Finally, Sabre confirmed that no personal information such as

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 1   social security, passport or driver’s license numbers were accessed. Id.
 2         Plaintiffs filed suit following disclosure of the incident.
 3                                   LEGAL STANDARDS
 4          A.     Dismissal Under Fed. R. Civ. P. 12(b)(1)
 5         Plaintiffs bear the burden of establishing their standing to invoke the subject matter
 6   jurisdiction of this Court. D’Lil v. Best Western Encina Lodge & Suites, 538 F.3d 1031,
 7   1036 (9th Cir. 2008). To do so, Plaintiffs must satisfy the “case or controversy”
 8   requirement of Article III of the United States Constitution, which requires a plaintiff to
 9   establish injury-in-fact that is (1) concrete and particularized as well as actual or imminent;
10   (2) fairly traceable to the challenged action of the defendant; and (3) redressable by a
11   favorable ruling from the court. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).
12   An injury-in-fact must be concrete, particularized, and “actual or imminent” rather than
13   speculative. Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016) (quoting Lujan, 504 U.S.
14   at 560). If based on threatened future injury, that injury must be “certainly impending,” or
15   there must be a “‘substantial risk’ that the harm will occur.” Susan B. Anthony List v.
16   Driehaus, 134 S. Ct. 2334, 2341 (2014) (quoting Clapper v. Amnesty Int’l USA, 568 U.S.
17   398, 414 n.5 (2013)). The Ninth Circuit demands that data breach plaintiffs demonstrate
18   that they face a “credible threat of real and immediate harm” stemming from the incident.
19   Krottner v. Starbucks Corp., 628 F.3d 1139, 1143 (9th Cir. 2010).
20          B.     Dismissal Under Fed. R. Civ. P. 12(b)(6)
21         To survive a motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6),
22   a “complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to
23   relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting
24   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The plausibility standard “asks for
25   more than a sheer possibility that a defendant has acted unlawfully,” Twombly, 550 U.S. at
26   556, and requires “enough fact[s] to raise a reasonable expectation that discovery will
27   reveal evidence of [the alleged misconduct],” Iqbal, 556 U.S. at 678 (citing Twombly, 550
28   U.S. at 556). Where a court is unable to infer more than the mere possibility of the alleged

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 1   misconduct based on the pleaded facts, the pleader has not demonstrated that she is entitled
 2   to relief and the action is subject to dismissal. Id. at 678-79.
 3                                        ARGUMENT
 4   I.     PLAINTIFFS LACK ARTICLE III STANDING
 5          A.      The Named Plaintiffs Allege No Injury-In-Fact
 6          The Court previously held that the original two Plaintiffs, Benson and Smith, lacked
 7   Article III standing, concluding that “[n]either of the two Plaintiffs can allege a cognizable
 8   injury-in-fact.” Order at 3. As discussed below, the paltry changes Plaintiffs make to the
 9   SAC do nothing to alter this conclusion.
10                 1.     Plaintiff Hamidi
11          First and foremost, the SAC adds a brand new plaintiff, Natasha Hamidi.
12   However, other than alleging she is a resident of Los Angeles County, the SAC
13   does not make a single allegation about her. There is no allegation that she made
14   any hotel reservations, much less through the use of SynXis, much less that her
15   information was compromised, much less that she was impacted in any way, much
16   less that she suffered an injury-in-fact fairly traceable to Sabre, much less
17   that….etc. She is, in 100% totality, merely a resident of Los Angeles. In the
18   motion to dismiss the FAC, Sabre suggested the Court might wonder why Plaintiff
19   Benson (who admitted he had suffered no impact) was named at all other than
20   improperly to manufacture venue. Hamidi stands in an even worse posture. It was
21   obvious from the Court’s prior Order dismissing this case that the law requires
22   factual allegations that establish standing and that satisfy the elements of each
23   cause of action. Hamidi’s allegations—or rather, her complete absence of
24   allegations—simply flout the Court’s Order and basic pleading requirements.
25                 2.     Plaintiff Benson
26          The Court dismissed Plaintiff Benson’s claims for lack of standing after
27   concluding that his allegations “confirm[] that nothing has happened to him.”
28   Order at 3. In so holding, the Court relied on the fact that Benson admitted that he

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 1   “has not had a fraudulent charge in his credit or debit cards,” id. (quoting
 2   FAC ¶ 33), among other reasons. The only difference in the SAC is that Benson
 3   has now deleted his previous affirmative admission, pleaded as a basis to prosecute
 4   this case, about not having experienced any fraudulent charges. See Ex. A ¶ 39.
 5   But the allegation has not gone away simply through use of the “delete” key—it is
 6   still there. Indeed, “[w]hile a district court must accept a plaintiff’s allegations as
 7   true in ruling on a motion to dismiss, it need not accept these allegations where
 8   they contradict what was alleged in a prior Complaint.” Adams v. United of
 9   Omaha Life Ins. Co., No. SACV 12-969-JST (JPRx), 2013 WL 12113225, at *3
10   (C.D. Cal. Jan. 10, 2013); see also McKenna v. WhisperText, No. 5:14-cv-00424-
11   PSG, 2015 WL 5264750, at *3 (N.D. Cal. Sept. 9, 2015) (despite allegations being
12   deleted from amended complaint, granting motion to dismiss where deficiency of
13   claims was “undeniable from [plaintiff’s] previous allegations”). In any event,
14   Benson concedes this allegation is still as true now as it was then, because he does
15   not replace the deleted allegation with an allegation that he has experienced any
16   fraudulent activity. Nor does he now claim that anything whatsoever has happened
17   to him following the security incident or any basis to contend that he is now at a
18   risk of future fraud or identity theft. He still fails to allege the information he
19   contends was impacted in the security incident, the hotels at which he stayed, or
20   when, any facts to plausibly allege that those hotels used SynXis CR for his
21   booking, or that any of those hotels were among those impacted by the incident.
22   Benson thus again fails to allege anything but a “speculative fear of fraud and
23   identity theft” that this Court previously found deficient for Article III standing.
24   Order at 3. Accordingly, the same infirmities plague his claims and Benson’s
25   claims should be dismissed yet again.1
26
     1
27     See, e.g., Patton v. Experian Data Corp., No. SACV 15-1871-JVS (PLAx), 2016
     WL 2626801, at *4 (C.D. Cal. May 6, 2016) (plaintiffs must allege “at minimum, that
28   their personal information was in fact accessed by an identity thief.”); In re
                                                                    (Footnote Cont’d on Following Page)
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 1                     3.       Plaintiff Smith
 2            As for Plaintiff Smith, the Court likewise held that she failed to suffer any
 3   cognizable injury-in-fact for purposes of establishing Article III standing. Order at
 4   4. Like Benson, Smith’s allegations in the SAC do nothing to alter this conclusion.
 5   Indeed, Smith’s allegations in the SAC are virtually identical to the FAC except
 6   that she too now deletes a prior allegation—specifically, she strikes her prior
 7   admission that she “canceled every debit and credit card that she used to book
 8   hotels.” See Ex. A ¶ 38. But she also cannot selectively delete allegations from a
 9   prior complaint to avoid dismissal of an amended complaint. Adams, 2013 WL
10   12113225, at *3; McKenna, 2015 WL 5264750, at *3. Nor does she make any
11   attempt to allege that she did not cancel all of the potentially relevant payment
12   cards.
13            As set forth at length in Sabre’s motion to dismiss the FAC (ECF No. 24),
14   the fact that Smith admitted that she cancelled her cards was fatal to her claims
15   because it meant that there could be no future risk to those accounts and nothing to
16   “constantly monitor” them for. See Whalen v. Michaels Stores, Inc., No. 16-260
17   (L), 2017 WL 1556116, at *2 (2d Cir. May 2, 2017) (plaintiff simply “[cannot]
18   plausibly face a threat of future fraud” where her “stolen credit card was promptly
19   cancelled after the breach and no other personally identifying information—such as
20   her birth date or Social Security number—is alleged to have been stolen”); Alonso
21   v. Blue Sky Resorts, LLC, 179 F. Supp. 3d 857, 864 (S.D. Ind. 2016) (“[B]ecause
22   the cards have been cancelled, future risk of injury is essentially nonexistent.”);
23   Engl v. Nat’l Grocers by Vitamin Cottage, Inc., No. 15-CV-02129, 2016 WL
24   8578252, at *6 (D. Colo. Sept. 21, 2016) (upon cancellation of credit card,
25   (Footnote Cont’d From Previous Page)
     Zappos.com, Inc., 108 F. Supp. 3d 949, 959 (D. Nev. 2015) (“Plaintiffs here make no
26   allegations that their data has appeared in any place where others might obtain and
27   misuse it.”); In re SuperValu, Inc., 870 F. 3d 763, 771 (8th Cir. 2017) (“[B]ecause
     plaintiffs have not alleged a substantial risk of future identity theft, the time they
28   spent protecting themselves against this speculative threat cannot create an injury.”).
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 1   exposure to future harm was “decisively extinguished”). Plaintiff cannot simply
 2   un-ring this bell and pretend that her prior admission does not exist.
 3          But even setting aside the impropriety of deleting her prior allegation, Smith still
 4   fails to allege any facts that would alter the Court’s prior conclusion that that she lacks
 5   standing. Smith still “does not allege that she incurred any monetary losses from the
 6   charges themselves” and “therefore cannot assert an injury to the alleged fraudulent
 7   charges.” Order at 4. That is so because “mere fraudulent charges on debit or credit cards
 8   do not rise to the level of actual identity theft sufficient to establish standing.” Torres v.
 9   Wendy’s Co., 195 F. Supp. 3d 1278, 1282 (M.D. Fla. 2016).2 In addition, the Court already
10   rejected Smith’s claimed injury in the form of “time and effort” to address the fraudulent
11   activity, because “[d]espite the possible ‘apprehension and inconvenience’ that may
12   accompany a data breach, a plaintiff lacks standing where she identifies no repercussions
13   of the incident ‘other than his own remedial efforts.’” Order at 4 (quoting Engl, 2016 WL
14   8578096, at *6).3
15          Finally, Smith still does not offer facts plausibly demonstrating that she is at risk of
16   future identity theft. Although the SAC now adds allegations referencing some theoretical
     2
17     See also Whalen v. Michael Stores Inc., 153 F. Supp. 3d 577, 580-81 (E.D.N.Y. 2015),
     aff’d sub nom. Whalen v. Michaels Stores, Inc., No. 16-260 (L), 2017 WL 1556116 (2d
18   Cir. May 2, 2017) (allegations of fraudulent activity with no associated monetary loss “do
     not confer standing”); see also Engl v. Nat’l Grocers by Vitamin Cottage, Inc., No. 15-
19   CV-02129, 2016 WL 8578096, at *6 (D. Colo. June 20, 2016) (no standing where
20   plaintiff alleged only “unspecified fraudulent activity on his Visa card” but failed to allege
     “that his credit card company refused to reverse the[ ] charges or that he was held
21   ultimately financial liable for them”), report and recommendation adopted, 2016 WL
     8578252 (D. Colo. Sept. 21, 2016).
22   3
       See also In re Hannaford Bros. Co. Customer Data Sec. Breach Litig., 613 F. Supp. 2d
23   108, 134 (D. Me. 2009), aff'd in part, rev'd in part on other grounds sub nom. Anderson v.
     Hannaford Bros. Co., 659 F.3d 151 (1st Cir. 2011) (taking “time and effort” to cancel a
24   credit card is simply “the ordinary frustrations and inconveniences that everyone
     confronts in daily life with or without [unlawful conduct]”); In re VTech Data Breach
25   Litig., No. 15-CV-10889, 2017 WL 2880102, at *5 (N.D. Ill. July 5, 2017) (“To the extent
26   plaintiffs allege a nonzero amount of time or money spent to protect themselves from
     future harm, those efforts do not qualify as actual injuries and do not support Article III
27   standing”); see also Kuhns v. Scottrade, Inc., 868 F. 3d 711,718 (8th Cir. 2017)
     (“massive class action litigation should be based on more than allegations of worry and
28   inconvenience”).

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 1   or hypothetical “access to email accounts” in an apparent attempt to demonstrate some
 2   other avenue of future harm, SAC ¶¶ 42-43, she does not allege that she provided an email
 3   address—much less an email account password—during the course of her hotel bookings;
 4   that her email account has been accessed; or any facts plausibly explaining how her email
 5   account is now at risk. Thus, absent specific allegations as to why the unauthorized
 6   person’s alleged possession of Smith’s information exposes her to a substantial and
 7   concrete risk of future identity theft, she lacks standing based on that risk. See Dugas v.
 8   Starwood Hotel & Resorts Worldwide, Inc., No. 3:16-cv-00014-GPC-BLM, 2016 WL
 9   6523428, at *5 (S.D. Cal. Nov. 3, 2016) (“[B]ecause the PII stolen was limited only to
10   Plaintiff’s name, address, and credit card information, and because the credit card has since
11   been cancelled, the Court finds that Plaintiff has not sufficiently alleged the credible threat
12   of future identity theft needed in order to plead injury in fact for his causes of action.”).
13          Accordingly, the SAC does nothing to alter the Court’s conclusion that “Smith does
14   not plausibly allege a future risk of fraud or identity theft.” Order at 4. Nor does it provide
15   any basis for Smith to recover for time spent “constantly monitoring” accounts for
16   something that will never come to pass. Finally, Smith fails to allege any expenses
17   attributable to monitoring her accounts for fraudulent activity or identity theft.
18                                               * * *
19          Because none of the three Plaintiffs alleges any present or credible future harm that
20   has occurred to them specifically, each lacks Article III standing.
21           B.     This Court Should Disregard, or in the Alternative, Reject, The
                    Generalized Assertions of Harm
22
           As discussed above, the SAC contains only two paragraphs that address the individual
23
     experiences of Plaintiffs Smith and Benson (there are none for Plaintiff Hamidi), and these
24
     allegations demonstrate that Plaintiffs have experienced no present or likely future injuries.
25
     Throughout the remainder of the SAC, Plaintiffs allege a grab-bag of imagined harms. But
26
     Plaintiffs do not allege that any of these harms were experienced by the Plaintiffs before this
27
     Court. It is Plaintiffs who carry the burden of demonstrating that they themselves have
28
     suffered injury sufficient for Article III standing, “not that injury has been suffered by other,
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 1   unidentified members of the class to which plaintiffs belong and which they purport to
 2   represent.” Warth v. Seldin, 422 U.S. 490, 502 (1975). Thus, the Court need not consider
 3   these general allegations in the first instance. However, even if it does, there are numerous
 4   reasons for the Court to reject them:
 5           a. The Kitchen Sink of Financial and Emotional Woes. In Paragraphs 32, 36, and
 6   37 (each added to the SAC), Plaintiffs have lobbed in miscellaneous allegations regarding
 7   virtually every type of harm that one could imagine in the wake of a security breach. These
 8   run the gamut from bank accounts being overdrawn, credit limits exceeded, the loss of
 9   accumulated miles and points, fees charged to obtain replacement cards, emotional distress,
10   and even marital strife. But not one Plaintiff alleges any of these things happened to him or
11   her specifically, and it is now apparent that they cannot make any such allegations. We are
12   now, after all, on the third complaint in this case. Neither Benson nor Hamidi provides any
13   basis to contend their information was even impacted. And Smith’s failure to allege that
14   she experienced any financial harms is particularly striking in light of this Court’s
15   conclusion that Smith had not alleged any “monetary loss” attributed to the security
16   incident, putting Smith on specific notice of the deficiency of her claims. Order at 4.
17           b. Deprivation of Value. Plaintiffs claim they and the putative class members have
18   been “depriv[ed] of the value of their [personally identifiable information], for which there
19   is a well-established national and international market.” SAC ¶ 53(f). But absent any
20   allegation that they want to sell their financial information to someone else (which would be
21   absurd, given that they are suing over the alleged disclosure of that very information),
22   deprivation of value is not a cognizable form of injury. See Khan v. Children’s Nat’l Health
23   Sys., 188 F. Supp. 3d 524, 533 (D. Md. 2016) (plaintiff “does not, however, explain how the
24   [cyber thief’s] possession of that information has diminished its value, nor does she assert
25   that she would ever actually sell her own personal information”).4
26   4
      Accord Fernandez v. Leidos, Inc., 127 F. Supp. 3d 1078, 1088-89 (E.D. Cal. 2015); In re
27   Zappos.com, Inc., 108 F. Supp. 3d at 954; In re Sci. Applications Int’l Corp. (SAIC)
     Backup Tape Data Theft Litig., 45 F. Supp. 3d 14, 30 (D.D.C. 2014); Green v. eBay Inc.,
28   No. CIV.A. 14-1688, 2015 WL 2066531, at *5 n.59 (E.D. La. May 4, 2015).

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 1            c. Overpayment. Plaintiffs allege that they overpaid Sabre “for booking and
 2   purchase” “in that a portion of the price paid for such booking . . . was for the costs of
 3   reasonable and adequate safeguards and security measures that would protect customers’
 4   PII.” SAC ¶ 53(h). Plaintiffs allege that Sabre did not implement these measures and “as a
 5   result, Plaintiffs and Class Members did not receive what they paid for and were
 6   overcharged by Sabre.” Id. In the SAC, Plaintiffs add new allegations in an attempt to
 7   bolster their overpayment theory by citing various general studies that supposedly show the
 8   value that consumers place on security and thus the willingness to pay a premium for
 9   added security. SAC ¶¶ 44-51.5
10            These reports have nothing to do with the Plaintiffs here and, of course, therefore
11   say nothing of how the individual Plaintiffs themselves value security or how that view
12   factored into their decisions to purchase or reserve hotel rooms. But even beyond this
13   shortcoming, Plaintiffs’ overpayment theory is implausible. Plaintiffs do not, and cannot,
14   allege that they paid anything to Sabre (which merely provides reservation technology
15   behind the scenes) as opposed to the hotels themselves. Nor do they plausibly allege that
16   the purchase price paid to hotels for rooms included some amount attributable to data
17   security at Sabre. See, e.g., In re Zappos.com, Inc., 108 F. Supp. 3d 949, 962 n.5 (D. Nev.
18   2015) (“Nor do Plaintiffs allege facts showing how the price they paid for such goods
19   incorporated some particular sum that was understood by both parties to be allocated
20   5
       Sabre questions the provenance of Plaintiffs’ reliance on these studies and several
21   others cited in the SAC. The citation to a purported FTC report in the SAC ¶ 45
     reads “Id. at 5” yet the preceding citation is not to any FTC report. Moreover, the
22   footnote to that paragraph cites to a report “last visited in 2013.” Indeed, many of
     the reports mentioned in the SAC are equally curious, given that they indicate the
23   websites were last visited in 2015, 2013 or even 2009. SAC ¶¶ 25, 32. Although
     the SAC notes in a footnote that “All cited websites were last visited on July 11,
24   2017,” (SAC n.1), that makes little sense because, if true, Plaintiffs should have
     updated the individual citations accordingly. Moreover, even if true, the fact that
25   sources were last visited in July 2017 does not demonstrate that Plaintiffs revisited
     or reconfirmed the accuracy of those sources prior to filing the instant SAC in
26   November 2017 (and indeed, the DOJ website referenced in ¶ 32 results in a “page
     not found” error today). The apparent implication is that these “allegations” were
27   merely lifted wholesale from some other source without independent review or
     verification. Compare, e.g., SAC ¶ 24 with Complaint ¶ 19, Driscoll v. Trump Int’l
28   Hotels Mgmt. LLC, No. 3:15-cv-1089, 2015 WL 6445198 (S.D. Ill. Oct. 2, 2015).

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 1   towards the protection of customer data”); In re Sci. Applications Int’l Corp. (SAIC)
 2   Backup Tape Data Theft Litig., 45 F. Supp. 3d 14, 30 (D.D.C. 2014) (rejecting similar
 3   theory because plaintiffs “have not alleged facts that show that the market value of their
 4   insurance coverage (plus security services) was somehow less than what they paid”); Khan,
 5   188 F. Supp. 3d at 533 (rejecting theory where plaintiff failed to allege any facts showing
 6   she overpaid for surgery or would have used another provider had she been aware of the
 7   lax data security). Although it did not have to reach the issue, the Seventh Circuit has
 8   nonetheless noted its “skepticism” of such a theory in Lewert v. P.F. Chang’s China Bistro,
 9   Inc., 819 F.3d 963, 968 (7th Cir. 2016), and found the theory “dubious” in Remijas v.
10   Neiman Marcus Group, LLC, 794 F.3d 688, 694 (7th Cir. 2015).
11          Moreover, Plaintiffs do not allege how it is that they were able to know what
12   behind-the-scenes reservation technology a given hotel even uses such that the security of
13   that system could have factored into Plaintiffs’ decision to book hotel rooms and whether
14   security concerns would override other considerations for which consumers typically pay a
15   premium in booking hotel rooms (such as location, hotel features, and overall quality of
16   accommodations). Plaintiffs allege that “had Sabre disclosed its lax security practices,
17   Plaintiffs and Class Members would have viewed the cost for booking a room through
18   them as less valuable and would either have attempted to book a room at a premium price
19   or not at all.” SAC ¶ 51. Plaintiffs’ theory thus appears to be that the higher priced a hotel
20   room, the greater the security of a third party vendor like Sabre, which is implausible (and
21   certainly not based on any factual allegations) and should be rejected.
22          d. Inadequate and Untimely Notification. Plaintiffs summarily allege that they
23   could have suffered harm from the “untimely and inadequate notification of the data
24   breach.” SAC ¶ 53(c). However, as discussed more fully below, Plaintiffs fail to allege
25   that Sabre had an obligation to notify Plaintiffs about the security incident in the first place.
26   See infra Section II.C. But even if they had, Plaintiffs cannot use this argument to bolster
27   standing without showing some injury that resulted from the allegedly inadequate or
28   untimely notification as opposed to the injury purportedly caused by the intrusion itself.

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 1   See In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 996 F. Supp. 2d
 2   942, 1009-10 (S.D. Cal. 2014) (Sony II); In re Adobe Sys. Inc. Privacy Litig., 66 F. Supp.
 3   3d 1197, 1218 (N.D. Cal. 2014); see also Order at 6 n.1. Plaintiffs still fail to do so.
 4         e. Theft or Disclosure of Information and Loss of Privacy. Plaintiffs generally
 5   allege some vague “loss of privacy,” SAC ¶ 53(e), but fail to provide any detail about how
 6   the security incident has resulted in a loss of privacy or how the alleged loss of privacy has
 7   injured them. Without such allegations, Plaintiffs have not pled facts sufficient to
 8   demonstrate any injury-in-fact. See, e.g., Zappos, 108 F. Supp. 3d at 962 n.5 (“Even if
 9   Plaintiffs adequately allege a loss of privacy, they have failed to show how that loss
10   amounts to a concrete and particularized injury.”).
11         f. Deprivation of Rights Under the UCL. Plaintiffs appear to contend that they can
12   satisfy Article III’s injury-in-fact requirement by alleging a “deprivation of rights” under
13   the UCL, even if they cannot articulate any concrete injury. SAC ¶ 53(i). The law is to the
14   contrary: the mere “assertion of a statutory violation [of the UCL] is insufficient, by itself,
15   to establish Article III standing.” Svenson v. Google, Inc., No. 13-CV-04080, 2016 WL
16   8943301, at *11 (N.D. Cal. Dec. 21, 2016). The UCL provides a claim only for a plaintiff
17   who can allege some “lost money or property” and Plaintiffs “must establish that the
18   statutory violation resulted in particularized and concrete injury.” Id.; see also Spokeo, 136
19   S. Ct. at 1543 (“a plaintiff does not automatically satisf[y] the injury-in-fact requirement
20   whenever a statute grants a right and purports to authorize a suit to vindicate that right”).
21         g. The mere “nature of a data breach.” Finally, Plaintiffs “allege” a legal
22   argument that the mere “nature of a data breach . . . makes it so that the threatened injury is
23   ‘certainly impending’ as opposed to merely speculative” and that “whether anticipated
24   conduct or an anticipated injury is likely to happen after a breach is beside the point.”
25   SAC ¶ 52 (citing Spokeo, 136 S. Ct. at 1548 and Robins v. Spokeo, Inc., No. 11-56843,
26   2017 WL 3480695 (9th Cir. Aug. 15, 2017). Plaintiffs appear to hope that this argument
27   will compensate for their inability to identify any present or likely future injury. But this
28   argument is of course wrong: whether a plaintiff has alleged a cognizable injury is never

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 1   “beside the point” in a data breach case or otherwise. To the contrary, Article III has
 2   always required every plaintiff allege a “particularized” and “concrete” injury. Spokeo,
 3   136 S. Ct. at 1548; Krottner, 628 F. 3d at 1143. The Court should reject this attempt to
 4   sidestep longstanding Article III jurisprudence.
 5          C.     Plaintiffs Add No Substantive Allegations Demonstrating
                   Traceability
 6
           With respect to the second essential prong of the standing analysis—whether the
 7
     alleged injury-in-fact is “fairly traceable” to the alleged unlawful conduct, Lujan, 504 U.S.
 8
     at 590, the Court already concluded that “Benson alleges that nothing has happened to him
 9
     and has provided no plausible allegations that anything could happen to him in the future[;]
10
     thus, he has no injury, much less one that can be ‘fairly traceable’ to the conduct of Sabre.”
11
     Order at 4. Nothing in the SAC changes this conclusion as to Benson and given that
12
     Plaintiff Hamidi alleges no allegations whatsoever, her allegations fall even shorter.
13
           With respect to Smith, the Court previously concluded that she failed to allege any
14
     facts making it plausible that the unauthorized activity can be “fairly trace[d]” to the
15
     security incident here given that she failed to demonstrate a “logical connection between
16
     the two incidents.” Order at 4-5 (citing Resnick v. AvMed, Inc., 693 F. 3d 1317, 1326-27
17
     (11th Cir. 2012), Stollenwerk v. Tri-West Health Care All., 254 F. App’x 664, 668 (9th Cir.
18
     2007)). Again, the SAC does nothing to alter this conclusion and does nothing to supply
19
     the missing information the Court previously identified. Smith still does not “identify at
20
     which hotels she used her cards, whether those hotels were among the locations impacted
21
     by the incident, or when precisely the fraudulent charge occurred.” Order at 5. Like the
22
     FAC, the SAC “does not clarify whether the specific data breach affected all hotels or a
23
     few and in what time period.” Id. Indeed, as the Court noted,“[g]iven the frequency of
24
     data breaches and credit card fraud, and considering how many entities potentially come
25
     into possession of one’s credit card information over the course of a year, any enterprising
26
     plaintiff could allege they experienced a fraudulent charge and attempt to connect it to any
27
     breach. Id.
28
           The only thing Smith adds to the SAC is a “screen shot” within Paragraph 38 with no
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 1   allegations as to what it is or what it purports to show, leaving Sabre and the Court to
 2   venture a guess. The screen shot appears to show Smith emailing Target about a charge on
 3   her Target REDcard™. But she still does not identify the date of the charge nor any
 4   allegations that connect it to the data security incident here. Notably, she does not allege
 5   that she used this Target REDcard to book hotel rooms (and it is unlikely that she can make
 6   such allegations given that the Target REDcard usually can only be used at Target stores
 7   and Target.com). See https://www.target.com/c/redcard/-/N-4tfyn (last visited Nov. 26,
 8   2017). Thus, far from demonstrating a plausible connection between the alleged fraudulent
 9   charge and the security incident, her inclusion of this screenshot appears to refute any such
10   connection. As such, Smith remains unable to demonstrate traceability.
11           D.     Plaintiffs Fail to Demonstrate Redressability
12         Plaintiffs also fail to demonstrate that their claimed injury (or lack thereof) is likely to
13   be redressed by a favorable outcome. Lujan, 504 U.S. at 560. With no compensable
14   economic injury, Plaintiffs are left only with their request for equitable relief, compelling
15   Sabre to “utilize appropriate methods and policies with respect to consumer data
16   collection.” SAC Prayer for Relief, C. But since all three Plaintiffs claim that they are
17   “former customers” (SAC ¶ 2 ) and do not demonstrate any present or likely future injury,
18   they cannot demonstrate a “real and immediate threat of repeated injury” warranting
19   injunctive relief at all. Bates v. United Parcel Serv., Inc., 511 F.3d 974, 985 (9th Cir.
20   2007); see also Dugas, 2016 WL 6523428, at *8 (“[A]n order requiring Defendant[] to
21   enhance [its] cybersecurity in the future . . . will not provide any relief for past injuries.”).
22   II.    PLAINTIFFS FAIL TO STATE A CLAIM UPON WHICH RELIEF CAN
23          BE GRANTED

24         In addition to lack of standing, this Court also determined that all ten claims were

25   insufficiently pled warranting dismissal under Rule 12(b)(6). Nine out of the ten claims in

26   the SAC are virtually identical to the previously dismissed claims, with the only substantive

27   change made to the claim for negligence. Accordingly, Sabre addresses the negligence

28   claim first. With respect to the remaining nine claims that were left unchanged, Sabre

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 1   incorporates its previous arguments made in its original motion to dismiss and addresses the
 2   them only briefly below.
 3          A.     Plaintiffs’ Amended Negligence Claim Remains Insufficiently Pled
 4         The Court previously dismissed Plaintiffs’ negligence claim as barred by the
 5   economic loss doctrine given that they do not allege any “special relationship” with
 6   Sabre. In a strained attempt to save this claim, the SAC now alleges that “[a]
 7   special relationship exists between Defendants and the Consumer Plaintiffs.”
 8   SAC ¶ 72. Yet the sole basis for this new allegation is the assertion that
 9   “Defendants actively solicited Consumer Plaintiffs and the other Class members to
10   use their PII in sales transactions at Defendants’ stores.” (emphasis added). Of
11   course, Plaintiffs have themselves consistently alleged that Sabre is not a brick and
12   mortar retailer, but rather a digital-only platform. E.g., SAC ¶ 16. Sabre does not
13   operate any “stores”—and more importantly is not alleged to operate any
14   “stores”— and thus this allegation is wholly irrelevant to the conduct at issue.
15   Moreover, Plaintiffs make no attempt to show how Sabre, which operates a behind
16   the scenes reservation platform, could possibly have “actively solicited” the
17   Plaintiffs to do anything, even though they make that allegation. Plaintiffs do not
18   allege how they would even know the hotels for which Sabre provides the
19   reservation technology, do not allege any interaction with Sabre whatsoever, and
20   provide no specifics about the what, when, or where of this supposed “solicitation.”
21   (Yet again, Sabre is left to question what pre-filing investigation was conducted
22   prior to the assertion of these factual allegations.)
23         Plaintiffs’ allegation of a special relationship therefore is not only
24   implausible but it makes no attempt to satisfy the multi-factor test set forth by the
25   California Supreme Court in J’Aire Corp. v. Gregory, 24 Cal. 3d 799, 804 (1979).
26   See Sony II, 903 F. Supp. 2d at 962 (dismissing negligence claim in data breach
27   class action because “Plaintiffs’ Consolidated Complaint has failed to adequately
28   allege why the economic loss doctrine does not apply, in particular why the J’Aire

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 1   factors weigh in favor of finding a ‘special relationship.’”). Indeed, the facts
 2   Plaintiffs do allege suggest a relationship between Plaintiffs and the hotels that are
 3   no different than “those envisioned in everyday consumer transactions” for which a
 4   special relationship does not apply. Id. at 969. And Sabre, as a behind-the-scenes
 5   reservation system whose identity is often unknown to the customer, is even further
 6   removed. Thus, because Plaintiffs have not established a special relationship or
 7   any other exception to the economic loss doctrine, their claims for purely economic
 8   damages cannot be pursued under a negligence cause of action. See In re iPhone
 9   Application Litig., 844 F. Supp. 2d 1040, 1064 (N.D. Cal. 2012).
10            B.     The Remaining Nine Claims are Identically Pled to the Previously
                     Dismissed Claims
11
              The remaining nine claims are taken verbatim from the previously dismissed FAC.
12
     Accordingly, rather than repeat the arguments made in the briefing in support of Sabre’s
13
     prior motion to dismiss (ECF No. 24), Sabre incorporates them herein and instead only
14
     briefly addresses each of the remaining nine claims below:
15
              Contract-based claims (Counts I and IX). Plaintiffs offer no new
16
     allegations to counter the Court’s original conclusion that “Plaintiffs’ allegations
17
     fail to demonstrate privity of contract between Plaintiffs and Sabre.” Order at 5.
18
     Specifically, as with the FAC, throughout the SAC, Plaintiffs are clear that their
19
     dealings are with entities other than Sabre, (see, e.g., SAC ¶¶ 1, 2, 31), rendering
20
     their breach-of-implied contract theory untenable.6 Plaintiffs also still fail to
21
     demonstrate the elements required to establish an implied-in-fact contract: mutual
22
     assent, offer and acceptance, and consideration. See Order at 5. That is because,
23
     like the FAC, the SAC alleges only that what the hotels offered and what Plaintiffs
24
     accepted is to “book hotel rooms.” SAC ¶ 65. Plaintiffs fail to allege an agreement
25
     6
26    See Benay v. Warner Bros. Entm’t, Inc., 607 F.3d 620, 634 (9th Cir. 2010) (“Privity
     between the parties is a necessary element of an implied-in-fact contract claim.”);
27   Windham at Carmel Mountain Ranch Ass’n v. Superior Court, 109 Cal. App. 4th 1162,
     1169 (2003) (dismissal appropriate when lack of privity is disclosed on the face of the
28   complaint).

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 1   by Sabre to assume certain obligations regarding data security and data breach
 2   notification or any consideration for a particular level of security that would create
 3   an implied contract in the first instance, let alone demonstrate any breach of same.7
 4   And as the Court previously concluded, “[g]iven that Plaintiffs have established no
 5   implied contract with Sabre for a particular level of data security or breach
 6   notification, their claim for breach of good faith and fair dealing also necessarily
 7   fails” as well. Order at 5 (citing Harm v. Frasher, 181 Cal. App. 2d 405, 418
 8   (1960)).8 Finally, the viability of Plaintiffs’ contract claims depend on their ability
 9   to allege actual damages causally connected to the data breach, and here they allege
10   none.9
11            Negligence Per Se (Count VIII). Despite previously representing to the
12   Court in no uncertain terms that “Plaintiffs agree that negligence per se is
13   evidentiary and agrees to withdraw Count VIII” (ECF 27 at 16 n.3) and despite the
14   Court holding that “California law does not recognize such a claim,”10 Plaintiffs
15
     7
16     See Lovell v. P.F. Chang’s China Bistro, Inc., No. C14-1152-RSL, 2015 WL 4940371,
     at *3 (W.D. Wash. Mar. 27, 2015) (plaintiffs alleged “no facts suggesting that [Plaintiffs]
17   requested or that defendant made additional promises regarding loss prevention, and
18   neither the circumstances nor common understanding give rise to an inference that the
     parties mutually intended to bind defendant to specific cybersecurity obligations”); Katz v.
19   Pershing, LLC, 672 F.3d 64, 74 (1st Cir. 2012) (plaintiff had not “adequately alleged that
     she provided any bargained-for benefit or suffered any bargained-for detriment in
20   exchange for the defendant’s supposed promises”); see also Longenecker-Wells v.
     Benecard Servs. Inc., No. 15-3538, 658 F. App’x 659, 662 (3d Cir. 2016) (receipt of
21   personal information “did not create a contractual promise to safeguard that information,
22   especially from third party hackers”).
     8
       See also Corona v. Sony Pictures Entm’t, Inc., No. 14-CV-09600 RGK (EX), 2015 WL
23   3916744, at *5-6 (C.D. Cal. June 15, 2015) (rejecting breach of good faith argument
24   where, like here, plaintiffs could not demonstrate how being the victim of an intrusion
     was “intended to frustrate the agreed common purpose of the agreement”).
     9
25     See Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1028 (N.D. Cal. 2012); Kuhns, 868 F.
     3d at 717-18.
26   10
        See Quiroz v. Seventh Ave. Ctr., 140 Cal. App. 4th 1256, 1285 (2006) (negligence per
27   se “does not provide a private right of action for violation of a statute”); accord DeBons v.
     Globus Med., Inc., No. 2:13-CV-08518-SVW-FFMX, 2014 WL 12495351, at *2 n.1
28   (C.D. Cal. Aug. 8, 2014), aff’d, 668 F. App’x 258 (9th Cir. 2016).

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 1   have again improperly asserted a claim for negligence per se. Yet again, this also
 2   raises questions about compliance with pre-filing obligations.
 3         UCL Claims (Counts III, IV, and V). Plaintiffs have added no substantive
 4   allegations to their UCL claims and fail to respond to any of the deficiencies this Court
 5   previously noted. To bring a claim under the UCL, Plaintiffs must show that they
 6   “suffered injury in fact and ha[ve] lost money or property.” Cal. Bus. & Prof. Code
 7   § 17204. Here, as with the FAC, in the SAC, “Plaintiffs have alleged no loss of money or
 8   property attributable to the data breach.” Order at 6. Plaintiff Benson still “alleges
 9   nothing whatsoever has happened to him”; Plaintiff Smith “alleges no monetary losses
10   stemming from the alleged unauthorized charges”; and Plaintiff Hamidi alleges not one
11   thing whatsoever connecting her to the security incident, let alone that she has been
12   injured in any way. Moreover, as discussed above, although the SAC includes a litany of
13   harms that plaintiffs allege happened to “customers” — not one of these purported harms
14   has happened to any of the specific named Plaintiffs here. As such, Plaintiffs can
15   demonstrate no loss of money or property and thus lack statutory standing under the UCL.
16         However, even setting aside Plaintiff’s lack of statutory standing, Plaintiffs do not
17   state a claim for “unlawful,” “unfair,” or “deceptive” business practices under the UCL.
18         Plaintiffs fail to allege a claim under the “unlawful” prong in Count III because, as
19   with the FAC, Plaintiffs still “fail to allege any predicate violation of law.” With regard to
20   Cal. Civ. Code § 1798.82, Plaintiffs again fail to distinguish between the breach
21   notification requirements of § 1798.82(a) (where a business “owns or licenses” personal
22   data of a California resident and must give notice to the resident directly) or § 1798.82(b)
23   (where a business “maintains” that data but does not own it and must give notice only to
24   owner or licensee). Despite previously conceding that the “FAC omits reference to Section
25   1798.82, subsection (a) or (b) specifically,” and representing that “this defect can be easily
26   cured upon amendment,” ECF 27 at 28, Plaintiffs still do not identify the statutory
27   provision they contend applies, let alone plead facts demonstrating that Sabre had an
28   obligation to notify them of the incident in the first instance. Thus, not only have Plaintiffs

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 1   failed to “identify the particular section of the statute that was violated,” they also fail to
 2   “describe with reasonable particularity the facts supporting the violation,” rendering the
 3   UCL claim deficient. Baba v. Hewlett–Packard Co., No. C 09-05946 RS, 2010 WL
 4   2486353, at *6 (N.D. Cal. June 16, 2010) (internal quotation marks omitted).
 5          But even if Plaintiffs had adequately pleaded that § 1798.82(a) applies, they fail to
 6   allege when Sabre should have notified them after its discovery of the incident or how the
 7   disclosure was not done “in the most expedient time possible” considering “the legitimate
 8   needs of law enforcement . . . or any measures necessary to determine the scope of the
 9   breach and restore the reasonable integrity of the data system.” Cal. Civ. Code
10   § 1798.82(a). Indeed, the notification Plaintiffs attach to the SAC states that Sabre had
11   engaged a cybersecurity expert to support its investigation, and that it had notified law
12   enforcement and hospitality customers. See SAC Ex. C.
13          Similarly, Plaintiffs fail to allege how Sabre failed to employ “reasonable security
14   procedures” as required for a violation of Cal. Civ. Code § 1798.81.5. Plaintiffs plead no
15   facts regarding the sufficiency or insufficiency of Sabre’s data security practices. In the
16   SAC, Plaintiffs have added allegations regarding the “threat of RAM scraper malware” and
17   general Payment Card Industry (PCI) data security standards (SAC ¶¶ 24-26), but nowhere
18   tie these allegations to Sabre’s conduct or the incident here. Absent these allegations, the
19   only thing Plaintiffs can point to is the fact of unauthorized access, essentially suggesting
20   that any time a company is the victim of theft by a third-party criminal, security
21   deficiencies should be implied. Plaintiffs can provide no support for this approach. To the
22   contrary: “[t]he implied premise that because data was hacked,” Sabre’s “protections must
23   have been inadequate is a ‘naked assertion[] devoid of further factual enhancement’ that
24   cannot survive a motion to dismiss.” Kuhns v. Scottrade, Inc., 868 F. 3d 711, 717 (8th Cir.
25   2017) (quoting Iqbal, 556 U.S. at 678)).
26          Finally, and dispositively, Plaintiffs fail to plead any injury from the purported delay
27   in notice under § 1798.82 or from Sabre’s alleged violation of § 1798.81.5. See Cal. Civ.
28   Code § 1798.84 (to state a claim for damages, a plaintiff must show that she has been

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 1   “injured by a violation”); see also Dugas, 2016 WL 6523428, at *10 (“[P]roof of damages
 2   is a threshold hurdle for both CRA causes of action.”).11 Having again failed to allege any
 3   predicate violation of law, Plaintiffs’ claim for “unlawful” practices should be dismissed.
 4         Plaintiffs’ claim for “unfair” practices in Count IV likewise remains deficient.
 5   Plaintiffs’ allegation that Sabre engaged in conduct that is “immoral, unethical, oppressive
 6   and unscrupulous, and/or substantially injurious to Plaintiffs and Class Members,” SAC ¶¶
 7   91-92, merely parrots the “balancing test” under the case law and is thus insufficient under
 8   Iqbal and Twombly; Plaintiffs fail to allege how the public policy underlying their claim is
 9   “tethered to specific constitutional, statutory, or regulatory provisions” and thus cannot
10   satisfy the “tethering test” set forth in Drum v. San Fernando Valley Bar Ass’n, 182 Cal.
11   App. 4th 247, 257 (2010); and, given that Plaintiffs fail to allege any injury, let alone injury
12   that is “substantial,” they cannot satisfy the test under Section 5 of the FTC Act. Id.
13         Finally, the SAC does nothing to remedy the deficiencies in Plaintiffs’ claim for
14   “deceptive practices” in Count V. Plaintiffs still do not identify, as they must, a single
15   “representation” or “advertisement” made by Sabre to the Plaintiffs, let alone one that is
16   “fraudulent or deceptive,” or relied on by Plaintiffs. See Kearns v. Ford Motor Co., 567
17   F. 3d 1120, 1126 (9th Cir. 2009); Janney v. Mills, 944 F. Supp. 2d 806, 818 (N.D. Cal.
18   2013); In re Tobacco II Cases, 46 Cal. 4th 298, 325 (2009). Similarly, Plaintiffs fail to
19   allege facts giving rise to a duty to disclose that could arguably support a fraudulent
20   omissions claim. Sony II, 996 F. Supp. 2d at 991. As with the FAC, Plaintiffs still do not
21   allege exclusive knowledge when they specifically allege that Sabre “fail[ed] to discover
22
     11
23     See, e.g., Adobe, 66 F. Supp. 3d at 1218 (“[B]y failing to allege any injury
     resulting from a failure to provide reasonable notification of the 2013 data breach,
24   Plaintiffs have not plausibly alleged that they have standing to pursue a Section
     1798.82 claim.”); Sony II, 996 F. Supp. 2d 942, 965 (S.D. Cal. 2014) (dismissing
25   delayed disclosure claim where plaintiffs “failed to allege that their injuries...were
     proximately caused by [the] alleged untimely delay”); In re Barnes & Noble Pin
26   Pad Litig., No. 12-CV-08617, 2016 WL 5720370, at *8 (N.D. Ill. Oct. 3, 2016)
     (“to establish an injury under the California Security Breach Notification Act, a
27   plaintiff must allege that her injuries were caused by the delay between the time
     she was notified of the breach and the time she contends she should have been
28   notified.”).

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 1   the security breach within [a] reasonable time,” SAC ¶ 76, nor do they offer anything but
 2   generalized allegations in support of active concealment. See Hovsepian v. Apple, Inc.,
 3   No. 08-5788 JF (PVT), 2009 WL 5069144, at *3 (N.D. Cal. Dec. 17, 2009).
 4                                              CONCLUSION
 5          Plaintiffs were given an opportunity to remedy the deficiencies this Court previously
 6   identified. Given the claims asserted in the SAC (which is now the third attempt to plead a
 7   viable complaint in this case), it is now clear that Plaintiffs are unable to do so.
 8   Accordingly, the SAC should again be dismissed in its entirety, this time with prejudice.
 9
10                                              Respectfully submitted,
11   Dated: November 28, 2017                   ARNOLD & PORTER KAYE SCHOLER LLP
12
                                                By: /s/ Kenneth L. Chernof
13                                              Kenneth L. Chernof (SBN 156187)
14
                                                Attorneys for Sabre Corporation and Sabre
15                                              GLBL Inc.
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